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           In the United States Court of Federal Claims
                                      No. 21-11 C
                                 Filed: January 4, 2021
 ________________________________________
                                                 )
 TRAILBOSS ENTERPRISES, INC.,                    )
                                                 )
                      Plaintiff,                 )
                                                 )
    v.                                           )
                                                 )
 THE UNITED STATES,                              )
                                                 )
                      Defendant,                 )
                                                 )
    and                                          )
                                                 )
 G4S SECURE SOLUTIONS (USA) INC.,                )
                                                 )
                      Defendant-Intervenor.      )
 ________________________________________ )


                                             ORDER

         On January 4, 2021, G4S Secure Solutions (USA) Inc. (“G4S”), the putative awardee of
the contract at issue in this suit, filed an unopposed motion to intervene, seeking to intervene as a
matter of right pursuant to Rule 24(a) of the Rules of the United States Court of Federal Claims.
See ECF No. 11. G4S timely filed the present motion on the same day that the Clerk’s Office
filed Plaintiff’s sealed complaint onto the docket. See ECF No. 1. G4S claims an interest in the
transaction that is the subject of this action, made a showing that it situated such that the
disposition of this action may impair or impede its ability to protect that interest, and has shown
that its interest is not adequately represented by existing parties. See ECF No. 11 at 2.
     As such, G4S has satisfied the requirements for intervention as a matter of right under
RCFC Rule 24(a). Therefore, the Court hereby GRANTS G4S’s motion to intervene.
       IT IS SO ORDERED.

                                                              s/ Edward H. Meyers
                                                              Edward H. Meyers
                                                              Judge
